
65 So.3d 1139 (2011)
Gary LAMBERT, Appellant,
v.
STATE of Florida, Appellee.
No. 4D08-2884.
District Court of Appeal of Florida, Fourth District.
July 20, 2011.
Philip J. Massa, Regional Counsel, and Nancy Jack, Assistant Regional Counsel, Office of Criminal Conflict and Civil Regional Counsel, West Palm Beach, for appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Georgina Jimenez-Orosa, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
In this appeal, the defendant challenges the trial court's ruling on his claims for postconviction relief and the amended sentencing order. We affirm, but remand for the entry of a corrected order of revocation that reflects a violation of only condition 5. See, e.g., Ortiz v. State, 2 So.3d 318, 319 (Fla. 4th DCA 2008) (recognizing that written order of revocation must conform to trial court's oral pronouncement).
Affirmed and Remanded.
STEVENSON, GROSS and TAYLOR, JJ., concur.
